             Case 3:22-cv-00145-MMC Document 36 Filed 04/20/22 Page 1 of 4




     Tony Francois, Cal. Bar #184100
1
     BRISCOE IVESTER & BAZEL LLP
2    235 Montgomery Street, Suite 935
     San Francisco, California, 94104
3    Telephone:    (415) 402-2700
     Facsimile:    (415) 398-5630
4
     Email:        tfrancois@briscoelaw.net
5
     Caroline Lobdell, Ore. Bar #021236, pro hac vice forthcoming
6    Aaron Bruner, Ore. Bar #133113, pro hac vice forthcoming
     WESTERN RESOURCES LEGAL CENTER
7
     9220 SW Barbur Blvd., Suite 119 #327
8    Portland, Oregon 97219
     Telephone:    (503) 768-8500
9    Facsimile:    (503) 222-3255
     Email:        clobdell@wrlegal.org
10
                   abruner@wrlegal.org
11
     Attorneys for Proposed Defendant-Intervenor
12   POINT REYES SEASHORE RANCHERS ASSOCIATION
13                                UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15   RESOURCE RENEWAL INSTITUTE;                     Case Number: 4:22-cv-00145-KAW
     CENTER FOR BIOLOGICAL DIVERSITY;
16   and WESTERN WATERSHEDS PROJECT,                 DECLARATION OF RICHARD GROSSI
17
                   Plaintiffs,
18
     v.
19
20   NATIONAL PARK SERVICE, a federal
     agency,
21
                   Defendant,
22
23   POINT REYES SEASHORE RANCHERS
     ASSOCIATION,
24
                   Proposed Defendant-
25                 Intervenor.
26
27
28

     DECLARATION OF RICHARD GROSSI                                       4:22-cv-00145-KAW
Case 3:22-cv-00145-MMC Document 36 Filed 04/20/22 Page 2 of 4
Case 3:22-cv-00145-MMC Document 36 Filed 04/20/22 Page 3 of 4
Case 3:22-cv-00145-MMC Document 36 Filed 04/20/22 Page 4 of 4
